UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

19CV11924

$36,000 U.S. Currency

NOTICE OF WITHDRAWAL OF APPEARANCE

Now comes attorney Geoffrey Nathan and moves that he be withdrawn from representing

the claimant/client in this case.

In support:

1. There has been a material breakdown of the attorney-client relationship.

The claimant/client has been served a copy of this motion.

/s/ Geoffrey G. Nathan, Esq.

 

Geoffrey G. Nathan
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No opposition: AUSA David Lazarus
CERTIFICATE OF SERVICE

| hereby certify that a true copy of the above

document was serve upon the attorney of record for
gach other pa Ne son 0/1
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